          Case 5:23-cv-01266-SSS-AGR Document 12 Filed 05/15/24 Page 1 of 3 Page ID #:80

 Attorney or Party without Attorney:                                                                            For Court Use Only
 Michael S. Morrison (SBN 205320)
 ALEXANDER MORRISON + FEHR LLP
 1900 Avenue of the Stars Suite 900
 Los Angeles, CA 90067
   Telephone No: 310-394-0888

      Attorney For:                                              Ref. No. or File No.:
                       Plaintiff
                                                                 DeRose, et al

 Insert name of Court, and Judicial District and Branch Court:
 UNITED STATES DISTRICT COURT CENTRAL DISTRICT OF CALIFORNIA
     Plaintiff:
            UNITED STATES and the STATE OF CALIFORNIA ex rel., NATALIE DE ROSE,
            et al.
 Defendant: PACIFIC DERMATOLOGY INSTITUTE, INC., et al

            PROOF OF SERVICE                   Hearing Date:             Time:           Dept/Div:   Case Number:
                                                                                                     ED CV 23-01266
1.   At the time of service I was at least 18 years of age and not a party to this action.

2.   I served copies of the Complaint; Certification and Notice of Interested Parties (LOCAL RULE 7.1-1); Civil Cover Sheet

3.   a.     Party served:      PACIFIC DERMATOLOGY INSTITUTE, INC., et al
     b.     Person served:     Bradley Mudge, Agent for Service of Process, authorized to accept served under F.R.C.P. Rule 4.

4.   Address where the party was served:        101 East Redlands Boulevard, Suite 284, Redlands, CA 92373

5.   I served the party:
     a. by substituted service.        On: Thu, May 02 2024 at: 11:40 AM by leaving the copies with or in the presence of:
                                       Monica Campos, Accounts Payable, authorized to accept served under F.R.C.P. Rule 4.


      (1)             (Residence or Usual Place of Abode) a person of suitable age and discretion who resides there.
      (2)         X   (Company) a Person in charge at least 18 years of age apparently in charge of the office or usual place of
                      business of the person served. I informed him or her of the general nature of the papers.
      (3)         X   (Declaration of Mailing) is attached.
      (4)             (Declaration of Diligence) attached stating actions taken first to attempt personal service.




                                                                     PROOF OF                                                          10974550
                                                                      SERVICE                                                         (5716266)
                                                                                                                                     Page 1 of 2
         Case 5:23-cv-01266-SSS-AGR Document 12 Filed 05/15/24 Page 2 of 3 Page ID #:81

 Attorney or Party without Attorney:                                                                            For Court Use Only
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 ALEXANDER MORRISON + FEHR LLP
 1900 Avenue of the Stars Suite 900
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   Telephone No: 310-394-0888

      Attorney For:                                              Ref. No. or File No.:
                      Plaintiff
                                                                 DeRose, et al

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 UNITED STATES DISTRICT COURT CENTRAL DISTRICT OF CALIFORNIA
     Plaintiff:
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 Defendant: PACIFIC DERMATOLOGY INSTITUTE, INC., et al

          PROOF OF SERVICE                     Hearing Date:             Time:           Dept/Div:   Case Number:
                                                                                                     ED CV 23-01266


6. Person Who Served Papers:
   a. Jose Fuerte (PS-001978, Riverside County)                            d. The Fee for Service was: $133.24
   b. FIRST LEGAL                                                          e. I am: A Registered California Process Server
      1517 W. Beverly Blvd.
      LOS ANGELES, CA 90026
   c. (213) 250-1111



7.   I declare under penalty of perjury under the laws of the United States of America that the foregoing is true and correct.




                                                                                 05/02/2024
                                                                                    (Date)                          (Signature)




                                                                     PROOF OF                                                          10974550
                                                                      SERVICE                                                         (5716266)
                                                                                                                                     Page 2 of 2
         Case 5:23-cv-01266-SSS-AGR Document 12 Filed 05/15/24 Page 3 of 3 Page ID #:82

 Attorney or Party without Attorney:                                                                                For Court Use Only
 Michael S. Morrison (SBN 205320)
 ALEXANDER MORRISON + FEHR LLP
 1900 Avenue of the Stars Suite 900
 Los Angeles, CA 90067
   Telephone No: 310-394-0888

      Attorney For:                                               Ref. No. or File No.:
                       Plaintiff
                                                                  DeRose, et al

 Insert name of Court, and Judicial District and Branch Court:
 UNITED STATES DISTRICT COURT CENTRAL DISTRICT OF CALIFORNIA
     Plaintiff:
            UNITED STATES and the STATE OF CALIFORNIA ex rel., NATALIE DE ROSE,
            et al.
 Defendant: PACIFIC DERMATOLOGY INSTITUTE, INC., et al

          PROOF OF SERVICE                       Hearing Date:            Time:           Dept/Div:     Case Number:
                                                                                                        ED CV 23-01266
              By Mail
1.   I am over the age of 18 and not a party to this action. I am employed in the county where the mailing occurred.

2.   I served copies of the Complaint; Certification and Notice of Interested Parties (LOCAL RULE 7.1-1); Civil Cover Sheet

3.   By placing a true copy of each document in the United States mail, in a sealed envelope by First Class mail with postage
     prepaid as follows:
     a. Date of Mailing: Thu, May 2, 2024
     b. Place of Mailing: LOS ANGELES, CA 90026
     c. Addressed as follows: PACIFIC DERMATOLOGY INSTITUTE, INC., et al
                                101 East Redlands Boulevard, Suite 284, Redlands, CA 92373

4.   I am readily familiar with the business practice for collection and processing of correspondence as deposited with the U.S. Postal
     Service on Thu, May 2, 2024 in the ordinary course of business.

                                                                             Recoverable cost Per CCP 1033.5(a)(4)(B)
5. Person Serving:
   a. THOMAS TILCOCK                                       d. The Fee for Service was: $133.24
   b. FIRST LEGAL                                          e. I am: Not a Registered California Process Server
      1517 W. Beverly Boulevard
      LOS ANGELES, CA 90026
   c. (213) 250-1111



6.   I declare under penalty of perjury under the laws of the State of California that the foregoing is true and correct.




                                                                                  05/02/2024
                                                                                     (Date)                             (Signature)




                  Judicial Council Form                          PROOF OF SERVICE                                                        10974550
                  Rule 2.150.(a)&(b) Rev January 1, 2007             BY MAIL                                                             (5716266)
